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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re                                                       Chapter 11

    PGX HOLDINGS, INC., et al.,1                                Case No. 23-10718 (CTG)

                              Debtors.                          (Jointly Administered)

                                                                Related D.I. Nos. 17, 66, 153

 SUPPLEMENT TO PRELIMINARY OMNIBUS OBJECTION AND RESERVATION
   OF RIGHTS OF OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO
THE DEBTORS’ DIP FINANCING MOTION AND BIDDING PROCEDURES MOTION

            The Official Committee of Unsecured Creditors (the “Committee”) appointed pursuant to

section 1102 of Title 11 of the United States Code (the “Bankruptcy Code”) in the chapter 11 cases

(the “Chapter 11 Cases”) of PGX Holdings, Inc., et al. (collectively, the “Debtors”), by and

through its undersigned proposed counsel, hereby files this supplement (“Supplemental

Objection”) to the Preliminary Omnibus Objection and Reservation of Rights of Official

Committee of Unsecured Creditors to the Debtors’ DIP Financing Motion and Bidding

Procedures Motion [D.I. 153] (the “Preliminary Objection”).2 In support of this Supplemental

Objection, the Committee respectfully states as follows:




1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: PGX Holdings, Inc. (2510); Credit Repair UK, Inc. (4798); Credit.com, Inc. (1580);
       Creditrepair.com Holdings, Inc. (7536); Creditrepair.com, Inc. (7680); eFolks Holdings, Inc. (5213); eFolks,
       LLC (5256); John C. Heath, Attorney At Law PC (8362); Progrexion ASG, Inc. (5153); Progrexion Holdings,
       Inc. (7123); Progrexion IP, Inc. (5179); Progrexion Marketing, Inc. (5073); and Progrexion Teleservices, Inc.
       (5110). The location of the Debtors’ service address for purposes of these chapter 11 cases is: 257 East 200
       South, Suite 1200, Salt Lake City, Utah 84111.
2
       Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Preliminary
       Objection, as applicable.


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                                   SUPPLEMENTAL OBJECTION

        1.       Discussions and negotiations among the Debtors, Committee, Secured Lenders and

Prospect are continuing and the Committee is hopeful a global resolution can be achieved. If a

global resolution is not obtained, then the next steps for building consensus among the parties may

be mediation. The Committee simply files this Supplemental Objection to identify (i) the key

remaining outstanding issues in dispute regarding the DIP Financing Motion and Bidding

Procedures Motion, as summarized in Exhibit A; (ii) certain critical facts the Committee recently

uncovered during its diligence process (iii) the need for transparency and integrity of the process;

and (iv) that the case needs to proceed on a non-urgent, non-accelerated or compressed schedule.3

        2.       The facts recently uncovered validate the Committee’s concerns about Prospect and

other insiders who are attempting to lock in a transaction that will cleanse the businesses of the

Debtors, strip the Debtors’ estates of all unencumbered assets, transfer the Debtors’ businesses to

existing equity, the sponsor and other insiders, and insulate the sponsor, lenders, equity holders

and other insiders (including officers and directors) from any liability for their self-interested and

value-destructive prepetition actions.

        3.       To be clear, Prospect’s stated basis on March 24 for refusing to fund their $30

million obligation to the PGX Debtors was an alleged statement by their now-CEO Chad Wallace

that their auditor was unable to deliver financials by March 31. Mr. Wallace testified during his

deposition that he did not make such a statement, that the auditor did not make such a statement,

that the PGX Debtors believed and certified they had met the requirements for funding, and that

Prospect’s refusal to fund had significant and material consequences for the Debtors—particularly




3
     On Friday, July 28th, the Debtors filed the revised proposed Final DIP Order, Bidding Procedures Order and
     asset purchase agreement. This Supplement is filed in part to address these recent filings.

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in light of the operational changes required following the CFPB ruling.4 After initially objecting

to the funding refusal, however, senior management soon began negotiating a lucrative

restructuring arrangement with Prospect and Blue Torch, including millions of dollars in unearned

bonuses to be prepaid by the Debtors on the eve of bankruptcy and an inchoate post-sale equity

stake in the Progrexion Stalking Horse Bidder (as defined in the Bidding Procedures Motion).

        4.       The Debtors’ newly installed “independent” directors blessed the insider

restructuring plan—including the substantial insider pre-payments, encumbrances on causes of

action, and extensive releases for Prospect and other insiders—without conducting any

investigation into the extent or value of the causes of action or releases being encumbered and

sold. The Debtors, DIP Lenders, and Stalking Horse Purchasers are attempting to hamstring the

Committee’s investigation into causes of action by imposing imbalanced budgetary restrictions

and an artificially compressed sale and Challenge timeline that requires the Committee to

determine whether to commence litigation within 3 days after the Final DIP and Bidding

Procedures Hearing in order to preserve value for creditors, all under the overhang of a default

under the DIP Facility if the Committee dares to interpose such a challenge. These tactics are

designed to ensure a fait accompli and are not the hallmarks of a fair, equitable, and transparent

Chapter 11 process.

        5.       While the Committee learned a number of key facts that will inevitably be raised

with the Court in due course, below are pertinent developments of which the Court should be aware

in considering the relief sought under the DIP Motion and Bidding Procedures Motion:



4
    See Deposition of Chad Wallace (July 18, 2023) (“Wallace Dep.”) at 59:17-21, 61:3-21, 63:16-64:4. After Mr.
    Wallace’s deposition, Prospect revised its story with new purported grounds for the funding refusal. Statement of
    Prospect Capital Corporation Regarding Preliminary Omnibus Objection and Reservation of Rights of Official
    Committee of Unsecured Creditors to the Debtors’ DIP Financing Motion and Bidding Procedures Motion, ¶ 4.
    [D.I. 239].

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    •   The PGX Board Chair Is Not “Independent” and Cannot Be Relied Upon. Sebastian
        Cervinka is a former 10-year employee of Prospect who maintains continuing personal
        relationships with Prospect senior executives. He has sat on the boards of at least 4
        companies for Prospect over the course of his employment and post-employment tenures.
        Prospect gave Cervinka shares in the Debtors’ direct parent company, PGX TopCo LLC
        (“PGX TopCo”), and installed him as Board Chair and officer of PGX TopCo, and Board
        Chair of its subsidiaries, the PGX Debtors.5 As set forth below, his deposition testimony
        evidenced an extraordinary lack of knowledge and recollection regarding PGX TopCo and
        the PGX Debtors for someone in his position, and that he is simply rubber stamping the
        insider-slanted proposals put in front of him without any diligence or material level of
        review.

    •   The PGX Board Chair did not scrutinize and cannot recall critical decisions and
        information. Mr. Cervinka’s testimony included, among other things, that:

            o He never read the Second Lien Facility documents, which he later contradicted by
              stating he did read the documents but not understand how the terms addressed the
              possibility of a CFPB ruling. (Cervinka Dep. at 63:3-64:25, 67:8-68:1, 73:17-
              74:3);

            o He did not review the funding request to Prospect, did not review Prospect’s refusal
              letter, did not know whether PGX had met the conditions for funding, did not know
              PGX’s view as to whether the request was valid (contradicting his prior testimony
              that PGX believed the request was valid), had no recollection of the basis for
              Prospect’s refusal, had no recollection of discussing with the Board or management
              how to respond to Prospect, and had no recollection of whether PGX responded.
              (Id. at 76:21-77:23, 83:13-22, 87:3-23);

            o He did not review the Progrexion APA (as defined in the Bidding Procedures
              Motion) and did not understand the requirements of credit bidding, despite
              affirming in the Board resolutions approving entry into the Chapter 11 Cases that
              he had reviewed and approved the agreement and process. (Id. at 116:9-117:7,
              120:8-19, 121:20-122:9);

            o He reviewed less than 5% of the DIP Loan Agreement over the course of less than
              ten minutes and did not investigate the extent of DIP Collateral (as defined in the
              DIP Loan Agreement), including the granting of liens on causes of action and other
              unencumbered assets, despite approving the DIP Loan Agreement (Id. at 124:9-
              19);




5
     He was contemporaneously installed in a similar shareholder/director role for another Prospect portfolio
     company. See Deposition of Sebastian Cervinka (July 26, 2023) (“Cervinka Dep.”) at 23:15-25, 34:24-37:19,
     38:6-15.

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             o He reviewed less than 5% of the RSA over the course of less than ten minutes and
               did not investigate the releases being granted to insiders, despite approving the RSA
               (Id. at 128:13-22);

             o He relied on counsel in preparing the engagement letter for Eugene Davis
               (recommended to him by Prospect) on behalf of PGX TopCo, but could not recall
               the identity of counsel or whether PGX TopCo had any counsel (Id. at 100:12-
               103:23); and

             o He never took notes at Board meetings (Id. at 73:17-74:3) and generally could not
               recall what was discussed, including various critical business issues for PGX.

     •   No PGX Board Investigation Into Prospect Funding Refusal. As explained above, the
         PGX Board, including their so-called “independent” Board Chair Cervinka (who holds
         equity in the Debtors’ parent alongside his former employer, Prospect), conducted no
         investigation into claims and defenses against Prospect arising from the $30 million
         funding refusal, which PGX’s CEO testified was unjustified.6

     •   The Heath Law Firm’s Independent Director Is Elevating the Interests of Insiders
         Over Unsecured Creditors. Roger Meltzer performed no investigation or analysis into
         the Debtors’ unencumbered assets (including cash),7 has no understanding the magnitude
         of unsecured liabilities to be left behind in the sale to insiders, and has not considered the
         pool of assets that would be available for creditors in the event the Heath Law Firm’s assets
         remain unencumbered. He did not closely read the DIP Loan Agreement or the Lexington
         Law APA (as defined in the Bidding Procedures Motion), but rather flipped through them
         and did not perform any investigation into claims against insiders that are being
         encumbered and sold in the proposed transactions.8

     •   No Investigation or Diligence Into Insider Causes of Action and Releases. PGX pre-
         paid millions of dollars in unearned retention bonuses when they were in a liquidity crisis
         and had stopped or deferred payments to others. Mr. Cervinka also had no knowledge of
         the details of a long term incentive program for one insider and why millions of dollars had
         been paid to the insider’s law firm.9 Mr. Meltzer had no knowledge of any Heath Law
         Firm’s retention bonus program, despite retention bonuses being paid to insiders during
         the year preceding the Petition Date.10 The Debtors’ boards have not conducted any

6
     See Cervinka Dep. 117:18-120:1; Wallace Dep. 59:16-21.
7
     This is not surprising, considering the 99% equity owner of the Heath Law Firm testified at his deposition that
     he did not know the cash on hand on the day before the bankruptcy filing was unencumbered. See Deposition
     of John C. Heath (July 26, 2023) (“Heath Dep.”) at 179:1-14.
8
     See Deposition of Roger Meltzer (July 19, 2023) (“Meltzer Dep.”) at 81:9-82:20, 84:13-86:16, 137:3-138:18,
     139:2-50).
9
     See Cervinka Dep. at 138:19-139:9.
10
     See Meltzer Dep. at 106:106:4-107:3. And despite paying several quarterly or incentive bonuses and retention
     bonuses in the year preceding the Petition Date, the Heath Law Firm had no actual bonus program set forth in
     writing See Heath Dep. at 120:12-16, 124:3-6),

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        investigation or diligence into the nature or value of claims or causes of actions that the
        Debtors propose to encumber and/or release under the Final DIP Order and the RSA and
        that are proposed to be transferred to the Stalking Horse Bidders.11

        6.       The foregoing is a snapshot of the Debtors’ lack of diligence and investigation prior

to seeking approval of the DIP Loan Agreement and Bidding Procedures. The Court should not

permit the Debtors to shield insiders from liability by conveying all potential sources of estate

value to the same or other insiders, while leaving legacy unsecured creditors with no source of

potential recovery. Permitting the Debtors to encumber causes of action and all of the assets of

the Heath Law Firm (including with a substantial roll-up of prepetition obligations) will ensure

such a result.

        7.       Nor is there any justification for the expedited timeline the Debtors and Secured

Lenders ask the Court to impose. The DIP Budget runs through September 16th, 2023, the Debtors

are ahead of budget, any sale of the Heath Law Firm cannot close until mid-September, and

professional fees under the budget are being pre-funded.12 It appears the only purpose served by

accelerating the challenge deadline to August 3rd (in contravention of this Court’s Local Rules)

and the Sale Hearing to August 11th, is to further hinder any meaningful investigative process by

the only independent fiduciary in these cases – the Committee. These cases can and should proceed

on a reasonable timeline that enables transparency, fairness and integrity.

        8.       The Debtors’ primary response to the Committee’s legitimate concerns is to claim

that the questionable DIP terms are the result of arms-length, hard fought negotiations, based on

the Debtors’ business judgment and cannot be modified. But the record does not support such

assertions and the Debtors cannot rely on them.




11
     See Cervinka Dep. at 117:18-120:1; 142:5-146:3.
12
     The Debtors’ professionals alone are estimated at $12.5 million.

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        9.       The DIP Facility must be substantially curtailed and adjusted, and the sale process

extended, to allow the Committee time and resources to complete the investigation that the Debtors

and their “independent” directors have refused to conduct. A summary of the Committee’s

remaining key points of concern are set forth in Exhibit A.

        10.      In conclusion, the Committee would like to underscore that it supports the

continuity of the Debtors’ businesses and a sale process and reasonable funding of these

proceedings. Conversion or dismissal of these proceedings is not beneficial. The Committee also

believes that a global consensual resolution is in the best interest of the Debtors and estates under

the circumstances. The Debtors, the Committee and the key stakeholders are working hard to

reduce friction and create a path for a successful sale and confirmation of a fully consensual plan

of liquidation. Part of that global resolution also includes a central and material role for the

Committee to act as gatekeeper. Nevertheless, the requested changes to and expressed concerns

with the DIP financing and Bidding Procedures cannot be ignored by the Secured Lenders,

Prospect and other insiders at the expense of the estates and unsecured creditors.

 Dated: July 30, 2023
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